  Case 2:17-cv-00121-LGW-RSB Document 25 Filed 01/04/18 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


DONALD A. CHAMBERLAIN,

               Plaintiff,                                    CIVIL ACTION NO.: 2:17-cv-121

       v.

LAZEGA & JOHANSON, LLC; and
TRANSWORLD SYSTEMS, INC.,

               Defendants.


                                     SCHEDULING ORDER

       Pursuant to Federal Rule of Civil Procedure 16(b) and the Local Rules of this Court, the

Court issues the following scheduling order in this matter. With the issue having been joined on

October 25, 2017, and the parties having held a conference pursuant to Federal Rule of Civil

Procedure 26(f) on November 17, 2017, the following deadlines shall apply. These deadlines

shall not be extended except upon a specific showing of good cause and order of the Court. Fed.

R. Civ. P. 16(b)(4). It is the Court’s expectation that the parties will not need an extension of

these deadlines. The showing of good cause necessary to obtain an extension of any of these

deadlines requires a specific showing of what the parties have accomplished to date in discovery,

what remains to be accomplished, and why the parties have not been able to meet the Court’s

deadlines. Bare boilerplate assertions such as “the parties have diligently pursued discovery to

date, but additional time is necessary” will not suffice to establish good cause.

       Additionally, should any party seek an extension of these deadlines or seek the extension of

any other deadline in this case (including an extension of a deadline to respond to a motion or file

any other pleading), the party should first contact all other parties and determine if the other parties
    Case 2:17-cv-00121-LGW-RSB Document 25 Filed 01/04/18 Page 2 of 3



join in, consent to, or oppose the request for an extension. When filing the motion for an

extension, the party requesting the extension must state in their motion for an extension whether

the other parties join in, consent to, or oppose the request for an extension.


LAST DAY FOR FILING MOTIONS
TO AMEND OR ADD PARTIES                                                             January 8, 2018


WRITTEN DISCOVERY UNDER RULES 33
THROUGH 36 OF THE FEDERAL RULES OF CIVIL
PROCEDURE                                                                            March 1, 2018


DISCOVERY DEPOSITION OF WITNESSES WHO
HAVE NOT BEEN DESIGNATED AS EXPERTS                                                 March 15, 2018


DEPOSITIONS OF ALL WITNESSES (WHETHER FACT
OR EXPERT) THAT ARE DE BEN ESSE DEPOSITIONS
AND TAKEN NOT FOR DISCOVERY BUT FOR USE
AT TRIAL                                                                              May 22, 2018


LAST DAY TO SERVE EXPERT WITNESS REPORTS
BY PLAINTIFF                                                                       January 26, 2018


LAST DAY TO SERVE EXPERT WITNESS REPORTS
BY A DEFENDANT                                                                       March 2, 2018


DISCOVERY DEPOSITION OF WITNESSES WHO
HAVE BEEN DESIGNATED AS EXPERTS                                                     March 15, 2018


STATUS REPORT DUE 1                                                                 March 19, 2018




1
   A Status Report Form is available on the Court’s website www.gasd.uscourts.gov under “forms.” The
parties are directed to use the content and format contained in this Form when reporting to the Court.



                                                  2
    Case 2:17-cv-00121-LGW-RSB Document 25 Filed 01/04/18 Page 3 of 3



LAST DAY FOR FILING ALL CIVIL MOTIONS,
INCLUDING DAUBERT MOTIONS, BUT
EXCLUDING MOTIONS IN LIMINE                                                                 April 20, 2018


PRE-TRIAL ORDER DUE 2                                                                        June 12, 2018


        SO ORDERED, this 4th day of January, 2018.




                                          R. STAN BAKER
                                          UNITED STATES MAGISTRATE JUDGE
                                          SOUTHERN DISTRICT OF GEORGIA




2
    The pretrial order shall be in the format for Judge Lisa Godbey Wood. The required form can be located
at the Court’s website www.gasd.uscourts.gov under “forms.” If a motion for summary judgment or other
dispositive motion is pending at the time of this deadline, the deadline for filing the pretrial order is
automatically extended. In such event, the parties need not and shall not file a motion to extend the pretrial
order deadline. Rather, the parties shall file the proposed pretrial order within twenty-one (21) days of
this Court’s ruling on the motion for summary judgment or other dispositive motion.


                                                      3
